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AO 91 (Rev. llt'l l) Criminal Comp|aint

 

UNITED STATES DISTRICT COURT

for the
District of Idaho

 

 

 

United States ot`America )
v. )
0MARLUNA § CaSeN°' m§lg‘/OOS"Z- OL»L>D
)
)
)
Dejéndmit(s)
CRIMINAL COMPLAINT
I, the complainant' 1n this case, state that ti§e following' 15 true to the best ofmy knowledge and belief.
On 01 about the date{s) of March 17, 2018 m t e county of Ada in the
Southern District of |daho , the defendant(s) violated:
Code Secfion Oj”ense Descrrption
18 U.S.C. § 1591(a) Sex T`rafticking of Chi|dren

This criminal complaint is based on these facts:

See the attached affidavit incorporated herein by reference.

if Continued on the attached sheet.

Y\)L

_ _ ____
Comp[amam ’s srgnmw'e

Daren M. Boyd, Specia| Agent, HS|

 

Prr'nted name and title
Sworn to before me and signed in my presence

Date; 0311812018 -
Jirdge '.1‘ signature

City and gtate; Boise, |daho The Honorab|e Cendy W. Da|el U.S. Magistrate Judge

 

Prr`med name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPL_AINT
I, Daren M. Boyd, Special Agent with the Department of Homeland Security,
Immigration and Customs Enforcement, Homeland Security Investigations (HSI), being duly

sworn, depose and State:

INTRODUCTION AND AGENT BACKGROUND

1 am a Special Agent with the Department of Homeland Security (DHS), Immigration
and Customs Enforcement (ICE), Horneland Security Investigations (HS_l). lhave been
employed as a Special Agent for over twenty-one (21) years and am assigned to the Boise, Idaho
HSI office (HSI Boise) under the Seattle, Washington HSI office (HSI Seattle), which has
jurisdiction over Washington, Alaska, Oregon and Idaho. I have successfully completed the
Criminal lnvestigator Training Program and the Immigration and Naturalization Service-Special
Agent Training at the Federal l:aw Enforcement Training Center in Brunswick, GA.

As a Special Agent, lam responsible for enforcing federal criminal statutes including the
distribution and/or transportation of images of minors engaged in sexually explicit conduct
offenses, pursuant to 18 U.S.C. § 2252(a)(2). My duties also include investigating criminal
violations relating to child exploitation and child pornographyl including violations pertaining to
the illegal production, receipt and possession of child pornography, and attempts or conspiracies
to commit those crimes. l have reviewed numerous examples of child pornography in several
forms of media including computer media. I have also participated in the execution of numerous

search warrants, the majority of which involved child exploitation and/or child pornography

 

' “Chi|d Pornography,” as used herein, includes the definition in 18 U.S.C. § 2256(8)(A),
involving any visual depiction, the production of which involves the use of a minor engaged in _
sexually explicit conduct. See 18 U.S.C. §§ 2252 and 2256(1) and (2).

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offenses. I have received training and actual experience relating to Federal Criminal

Procedures, Federal Statutes and ICE Regulations.

As part of my duties, 1 have investigated child exploitation cases almost exclusively for
the last ten (10) years. l have participated in numerous investigations involving the sexual
exploitation of children and the use of the lnternet to conduct criminal activity, including fraud,
child pornography, controlled substance related crimes, etc. 1 have been active with the Boise,
ldaho United States Attorney’s Office Project Safe Childhood Working Group and the ldaho
Internet Crimes Against Children Taskforce for the last seven (7) years. As a Special Agent, l
am authorized to investigate violations of laws of the United States and to execute warrants
issued under the authority of the United States.

1 am submitting this affidavit as probable cause to arrest and charge Omar LUNA with
violation of Title 18 U.S.C. § 1591 for Sex Trafficking of Children.

APPLICABLE LAW

Title 18, United States Code, Section 1591(a) states: “Whoever knowingly (1) in or
affecting interstate or foreign commerce, or within the special maritime and territorial
jurisdiction of the United States, recruits, entices, harbors, transports, provides, obtains,
advertises, maintains, patronizes, or solicits by any means a person; or (2) benefits, financially or
by receiving anything of value, from participation in a venture which has engaged in an act
described in violation of paragraph (1), knowing, or, except where the act constituting the
violation of paragraph (1) is advertising, in reckless disregard of the fact, that means of force,
threats of force, fraud, coercion described in subsection (e)(2), or any combination of such means

will be used to cause the person to engage in a commercial sex act, or that the person has not

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attained the age of 18 years and will be caused to engage in a commercial sex act, shall be
punished as provided in Subsection (b)."

STATEMENT OF PROBABLE CAUSE

On March 16 and 18, 2018, a multi-agency operation was conducted for individuals who
are predisposed to travel to engage in sexual activity with minors. During this three-day
operation, on March 17 and 18, Omar LUNA engaged in on|ine and telephonic communications

regarding a commercial sexual encounter with a minor.
CRAIGSLIST POSTlNG

At approximately 1 1:49 p.m. on March 17, 2018, an Undercover (“UC”) Idaho Crimes
Against Children (ICAC) officer posted the following advertisement in the Casual Encounters -

section on the Boise Craigslist website under the heading:

Wateh out!! . . . .....READ! ! !! - w4m (Boise).

Guys watch out for |aciwhee183 She is wanting guys to
have sex with her daughter who is 15 years old. Totally'
don’t believer but she legit so if ur talking with her at
laciwhee183....STOP! Her email is with google FYI Her
name is Laei and her daughter’s name is Abby

Beginning at approximately 1:12 a.m. on March 18, 2018, the UC ICAC officer_using
e-mail account laciwhee183@gmail.com_.exchanged numerous e»mai|s with e-mail account
sittingonamine@gmail.com in response to the above posting. The following messages were
found to be notable by the affiant as supporting probable cause: -

E-MAIL EXCHANGES

At 1:12 a.m. on March 18, 2018, e-mail account sittingonamine@gmail.com user name
“carlos jones" sent an e-mail message which contained the following text: “Hey. I’rn looking for

a good time. Let me know how much”

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At 1:13 a.m. on March 18, 2018, e-mail account laciwhee183@gmail.com sent an e-mail
message which contained the following text: ‘_‘For both of us?”

At 1:15 a.m. on March 18, 2018, e-mail account sittingonamine@gmai|.com user name
“carlos jones” sent an e-mail message which contained the following text: “How much are each
of you?”

At 1:17 a.m. on March 18, 2018, e-mail account laciwhee183@gmai|.com sent an e-mail
message which contained the following text: “Let’s talk first then yes. You know our ages?”

At 1:17 a.m. on March 18, 2018, e-mail account sittingonamine@gmail.com user name
“carlosjones” sent an e-mail message which contained the following text: “You and your
daughter?” '

At 1:18 a.m. on March 18, 2018, e-mail account sittingonamine@gmail.com user name
“carlos j_ones” sent an e-mail message which contained the following text: “I don’-t know your
age. But 15 the other“

At 1:19 a.m. on March 18, 2018, e-mail account laciwheelSS@gmail.com sent an e-mail

message which contained the following tex : “can we text and get off email?”

At 1:23 a.m. on March 18, 2018, e-mail account sittingonamine@gmail.com user name
“carlos jo'nes” sent an e-mail message which contained the following text: “It all depends on how
much both cost. But looks are important too. 208443 8256.” Thereafter, “carlos jones”

communicated with the UC via text message.
TEXT MESSAGES

Beginning at 1:25 a.m. and ending at 2:35 a.m. on March 18, 2018, the following text
message exchange between “carlosjones” using telephone number (208) 443-8256 and the UC

occurred :

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“carlos jones”:

(¢UCl):

“earlos jones”:

(¢UCl’:

¢¢UC!!:

“carlos jones”:

“carlos jones”:

GEUC1!:

“carlos jones”:

$(UC\!:

“carlos jones":

“carlos jones”:

1 have 160 right now but 1 can get more tomorrow if need
be

what do you want for 160

How about a strip tease and me eating out on her. And
more if you are fine as wel_l

hey do you have condoms, no BB
u didn’t say u had protection

No worries on protection

[Photograph Attachment] This photograph was a digital
image file depicting iheji'on! ofihe Jacksons gas station at
1107 N. Cw'tis Road in Boise, Idaho.

will you grab a red bull for her please

Ok

what 1‘ u in?

White car

1 think im otside for sure

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During the above text message exchange, “carlosjones” was directed to first travel to the
1ackson’s gas station located at 1107 N. Curtis Road in Boise, ldaho, and then to a residence
located at 419 N. Allumbaugh Street in Boise, Idaho. “carlos jones” was led to believe that if he
went to the 419 N. Allumbaugh Street he would meet an adult female and her fifteen (15) year

old daughter, “Abby,” and pay $ 160 for sexual contact with Abby.

Law enforcement mobile surveillance units stationed in the area of the 1 ackson’s gas
station on Curtis Road were notified of the pending arrival of “carlosjones.” Law enforcement
surveillance units noted a white Mitsubishi Gallant in the gas station parking area and verified
the license plate on the vehicle was Idaho plate 1182273. The white Mitsubishi Gallant was
parked in the gas station parking area when the digital image file depicting the front of the
Jackson’s gas station was sent via text message from (208) 443-8256 “carlos jones” to the UC
phone number. The white Mitsubishi Gallant then left the lackson’s gas station parking area for
a short amount of time and then returned to the gas station parking area and an adult male in a
wheel chair exited the vehicle and entered the gas station convenience store.

The white Mitsubishi Gallant then again left the 1 ackson’s gas station parking area and
the law enforcement surveillance unit conducted mobile surveillance and followed the pickup
truck to Allumbaugh Street in Boise, Idaho. The white Mitsubishi Gallant traveled down
Allumbaugh Street and parked in the driveway of the residence located at 419 N. Allumbaugh
Street. The adult male exited his vehicle and utilized his wheel chair to travel to door of the
residence.

Law enforcement officers from the United States Marshal Service (USMS) Greater Idaho
Fugitive Taskforce (GIFT) encountered the adult male who was identified as Omar LUNA and

took him into custody. _During a search incident to his arrest, LUNA was found to be carrying a

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black and chrome Samsung Galaxy 85 cellular telephone and one hundred and sixty (160)
dollars.

While still at the residence, LUNA spoke with HSI Special Agent (SA) Tom Sallaway
and Idaho ICAC officer JeffPeterson. HSI SA Sallaway explained to LUNA that the officers
wished to speak to him regarding the circumstances that led to him being arrested and advised
LUNA of his rights pursuant to Miranda. LUNA initialed his Statement of Rights Form and

informed the officers that he was willing to speak with them without an attorney present.

LUNA consented to the officers searching his vehicle and he read and signed a Consent
to Search Form documenting this consent. A can of Red Bull energy drink was recovered from
LUNA’s vehicle.

LUNA also consented to the officers searching his Samsung Galaxy 85 cellular telephone
device after reading and signing an HSI Consent to Search Cellular Telephone form
documenting this consent.

After his arrest, LUNA was then transported to the Ada County Sheriff’s Office (ACSO)
for interview. HSI SA Sallaway and ICAC Officer Peterson interviewed LUNA in an interview
room, which was equipped with audio and video recording capabilities

‘ During the interview, LUNA admitted that he responded to a Craigslist advertisement
fi'om a mom and a daughter. LUNA stated he engaged in an e-mail discussion with the mom,
which was immediater sexual in nature. LUNA stated that he is impotent and he went to the
house intending to engage in direct oral sexual contact with both mom and daughter.
Additionally, LUNA stated he offered to pay the mother one hundred and sixty (160) dollars for
the sexual contact “if it was worth it.” When asked why he responded to the advertisement

regarding a-fifteen year old female and LUNA stated he did so because “he wanted to try it."

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At the ACSO, Idaho ICAC Forensie Examiner (FE) Gregg Lockwood performed a short
_ forensic review of LUNA’s Samsung Galaxy S5 telephone and found numerous e-mail messages
exchanged between e-mail accounts sittingonamine@gmail.com with a user name of “carlos
jones” and the e-mail account laciwhee183@gmail.com. Additiona||y, ICAC FE Lockwood
verified the phone number for LUNA’s Samsung Galaxy S-5 device is (208) 443-8256.
_CQN_CM

Based on the foregoing, there is probable cause to arrest and charge Omar LUNA with
violation of Title 18 U.S.C. § 1591 for Sex Trafficking of Children.

We also request that this Complaint be sealed and that no distribution be permitted because
this operation is ongoing.

Respectfully submitted,

Daren M. Boyd
Specia| Agent, HSI

Subscribed and sworn before me this 18th day of March, 2018,

The Honorable Candy W. Dale
United States Magistrate Judge

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